              Case 1:10-cr-00131-LJO Document 164 Filed 12/05/12 Page 1 of 2


     Allison Margolin (SBN. 222370)
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2    Raza Lawrence (SBN. 233771)
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     Beverly Hills, CA 90211
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5
     Attorney for Defendant, JOSEPH TAYLOR
6
                            IN THE UNITED STATES DISTRICT COURT
7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
8     UNITED STATES OF AMERICA,                            CASE NO: 1:10-CR-0131 AWI
9                            Plaintiff,
10
      v.                                                   STIPULATION AND ORDER TO
                                                           CONTINUE SENTENCING HEARING
11    JOSEPH TAYLOR,

12                           Defendant.                    DATE       : December 3, 2012
                                                           TIME       : 10:00 A.M.
13                                                         JUDGE      : Hon. Anthony W. Ishii
14

15          IT IS HEREBY STIPULATED by and between the parties hereto through their
16
     respective counsel that the sentencing hearing in the above-captioned matter now set for
17
     December 3, 2012 be vacated and reset for February 11, 2013.
18

19          This continuance is at the request of Defendant Joseph Taylor. Counsel for Mr. Taylor is

20   currently engaged in jury trial in Los Angeles County Case People v. Burke, GA077707. Counsel
21   requests that the above-captioned matter now set for December 3, 2012 be vacated and reset for
22
     February 11, 2013 to accommodate the completion of the jury trial. The United States agrees and
23
     stipulates to continuance.
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25          As this is a sentencing hearing, no exclusion of time is necessary.

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27

28
     DATED: November 29, 2012                                    Respectfully submitted,
                           Case 1:10-cr-00131-LJO Document 164 Filed 12/05/12 Page 2 of 2


                                                                   BENJAMIN B. WAGNER
1
                                                                   United States Attorney
2

3
                                                             By:   /s/ Karen Escobar
4
                                                                   KAREN ESCOBAR
5                                                                  Assistant United States Attorney
                                                                   Attorney for Plaintiff
6

7
                                                                   /s/ J. Raza Lawrence
8                                                                  J. RAZA LAWRENCE
                                                                   Margolin & Lawrence
9                                                                  Attorney for Defendant
10                                                                 Joseph Taylor

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     IT IS SO ORDERED.
14
     Dated: December 5, 2012
15                                                   UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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